                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA

 KENNETH A. JONES,                                    )
                                                      )
                 Petitioner,                          )
                                                      )
 v.                                                   )       Nos.    1:12-CV-94-HSM
                                                      )               1:07-CR-25-HSM-SKL-1
 UNITED STATES OF AMERICA,                            )
                                                      )
                 Respondent.                          )


                                  MEMORANDUM AND ORDER

         Before the Court is a pro se motion to vacate, set aside, or correct sentence pursuant to 28

 U.S.C. § 2255 filed by Kenneth Jones (“Petitioner”) [Doc. 170]. The government filed an initial

 response [Doc. 192], and Petitioner filed a reply [Doc. 210]. During pendency of the action,

 Petitioner has filed three motions to amend his original petition [Docs. 182, 214, 224] and

 several non-dispositive, discovery-related motions [Docs. 190, 196, 208]. In the most recent

 motion to amend, Petitioner cites the United States Supreme Court’s decision in Johnson v.

 United States, 135 S. Ct. 2551 (2015), as a novel ground for collateral relief [Doc. 224].

 Respondent is ORDERED to file a response addressing all of the foregoing motions within

 thirty (30) days of entry of this order.

         IT IS SO ORDERED.



                                                          /s/ Harry S. Mattice, Jr._______
                                                         HARRY S. MATTICE, JR.
                                                      UNITED STATES DISTRICT JUDGE




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